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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


PETER LYOYA,

         Plaintiff,                          Case No. 1:22−cv−1160

    v.                                       Hon. Paul L. Maloney

CHRISTOPHER SCHURR, et al.,

         Defendants.
                                       /

                 NOTICE REGARDING ASSIGNMENT OF CASE
       NOTICE is hereby given that the above−captioned case was filed in
this court on December 7, 2022 . The case has been assigned to Paul L.
Maloney .



                                           CLERK OF COURT

Dated: December 7, 2022          By:        /s/ N. Stimec
                                           Deputy Clerk
